     Case 1:15-bk-11016                Doc 53   Filed 04/24/19 Entered 04/24/19 08:45:58                                 Desc Main
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                                           UNITED STATES BANKRUPTCY COURT
                                              DISTRICT OF RHODE ISLAND

              In re: DICKSEN, WILLIAM B.                                                        § Case No. 1:15-11016-DF
                     DICKSEN, DOLORES V.                                                        §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on May 14, 2015. The undersigned trustee was appointed on May 14, 2015.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $                27,689.85

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                                 0.00
                                    Administrative expenses                                               14.77
                                    Bank service fees                                                    437.25
                                    Other payments to creditors                                            0.00
                                    Non-estate funds paid to 3rd Parties                                   0.00
                                    Exemptions paid to the debtor                                          0.00
                                    Other payments to the debtor                                           0.00
                             Leaving a balance on hand of 1                         $                27,237.83
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)
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                 6. The deadline for filing non-governmental Page
                                             Document        claims 2inof 38case was 09/11/2015
                                                                       this
       and the deadline for filing governmental claims was 11/10/2015. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $2,714.80. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $2,714.80, for a total compensation of $2,714.80. 2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $123.17, for total expenses of
               2
       $123.17.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 03/26/2019                    By: /s/Charles A. Pisaturo Jr.
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)
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                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 1:15-11016-DF                                                            Trustee:       (590100)      Charles A. Pisaturo Jr.
Case Name:        DICKSEN, WILLIAM B.                                                 Filed (f) or Converted (c): 05/14/15 (f)
                  DICKSEN, DOLORES V.                                                 §341(a) Meeting Date:        06/09/15
Period Ending: 03/26/19                                                               Claims Bar Date:             09/11/15

                               1                                      2                          3                      4                    5                   6

                    Asset Description                             Petition/             Estimated Net Value         Property          Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)               Unscheduled        (Value Determined By Trustee,   Abandoned          Received by        Administered (FA)/
                                                                   Values             Less Liens, Exemptions,      OA=§554(a)          the Estate         Gross Value of
Ref. #                                                                                    and Other Costs)                                               Remaining Assets

 1       Two-bedroom house, Drive, Johnston, RI 02919, ap            160,200.00                        0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 2       Cash in personal possession.                                       9.00                       0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 3       Checking account, Citizens Bank, 1 Citizens Dr.,                   0.50                       0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 4       Checking account, Navigant Credit Union, 1005 Do                 412.33                       0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 5       Statement Share account, Navigant Credit Union,               1,109.00                        0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 6       Business checking account, Santander Bank, 1414                   64.93                       0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 7       Business savings account, Santander Bank, 1414 A                  36.28                       0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 8       Checking account, Citizens Bank, 1 Citizens Dr.,                   4.45                       0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

 9       Living Room: two couches, desk, two chairs, thre              5,900.00                        0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

10       Personal and work clothing and shoes for both                 3,000.00                        0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

11       14K gold, 1 cttw. diamond engagement ring ($500)              1,000.00                        0.00                                      0.00                    FA
          Orig. Asset Memo: Imported from original petition
         Doc# 1

12       Mens 14K gold wedding band                                       160.00                       0.00                                      0.00                    FA


                                                                                                                                     Printed: 03/26/2019 10:27 AM    V.14.50
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                                                                              Form 1                                                                                   Page: 2

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 1:15-11016-DF                                                            Trustee:       (590100)      Charles A. Pisaturo Jr.
Case Name:          DICKSEN, WILLIAM B.                                               Filed (f) or Converted (c): 05/14/15 (f)
                    DICKSEN, DOLORES V.                                               §341(a) Meeting Date:        06/09/15
Period Ending: 03/26/19                                                               Claims Bar Date:             09/11/15

                                1                                     2                          3                      4                     5                    6

                     Asset Description                             Petition/            Estimated Net Value         Property          Sale/Funds              Asset Fully
          (Scheduled And Unscheduled (u) Property)               Unscheduled       (Value Determined By Trustee,   Abandoned          Received by          Administered (FA)/
                                                                    Values            Less Liens, Exemptions,      OA=§554(a)          the Estate           Gross Value of
Ref. #                                                                                    and Other Costs)                                                 Remaining Assets

           Orig. Asset Memo: Imported from original petition
          Doc# 1

13        IRA account, managed by Merrill EDGE Advisory Ce             4,645.26                        0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

14        401(k) account with employer, Tiffany & Co., 200             8,050.23                        0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

15        401(k) from previous employer (CVS/Caremark), ma            57,962.49                        0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

16        Employer Stock Purchase Plan, managed by Compute                548.22                       0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

17        2008 Ford Ranger pickup, automatic transmission,             5,451.00                        0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

18        2012 Kia Rio 5-door hatchback, automatic transmi             7,900.00                        0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

19        1994 Toyota Corolla DX 4-door sedan, automatic t                932.00                       0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

20        One dog                                                          10.00                       0.00                                        0.00                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

21        Debtor is entitled to receive payment of $1,000             45,000.00                   27,689.85                                   27,689.85                    FA
           Orig. Asset Memo: Imported from original petition
          Doc# 1

 21      Assets      Totals (Excluding unknown values)             $302,395.69                   $27,689.85                                  $27,689.85                 $0.00



      Major Activities Affecting Case Closing:




                                                                                                                                     Printed: 03/26/2019 10:27 AM      V.14.50
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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 1:15-11016-DF                                                      Trustee:       (590100)      Charles A. Pisaturo Jr.
Case Name:       DICKSEN, WILLIAM B.                                            Filed (f) or Converted (c): 05/14/15 (f)
                 DICKSEN, DOLORES V.                                            §341(a) Meeting Date:        06/09/15
Period Ending: 03/26/19                                                         Claims Bar Date:             09/11/15

                              1                                     2                      3                       4                    5                   6

                    Asset Description                            Petition/        Estimated Net Value          Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)              Unscheduled   (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                  Values        Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                              and Other Costs)                                                Remaining Assets

     Initial Projected Date Of Final Report (TFR):   June 9, 2016                 Current Projected Date Of Final Report (TFR):       March 26, 2019 (Actual)




                                                                                                                                  Printed: 03/26/2019 10:27 AM   V.14.50
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                                                  Cash Receipts And Disbursements Record
Case Number:         1:15-11016-DF                                                             Trustee:            Charles A. Pisaturo Jr. (590100)
Case Name:           DICKSEN, WILLIAM B.                                                       Bank Name:          Rabobank, N.A.
                     DICKSEN, DOLORES V.                                                       Account:            ******1366 - Checking Account
Taxpayer ID #:       **-***5490                                                                Blanket Bond:       $15,000,000.00 (per case limit)
Period Ending: 03/26/19                                                                        Separate Bond: N/A

   1             2                          3                                   4                                              5                      6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements             Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $                Account Balance
08/22/16                   Overflow Machine LLC          Acct #5015741366; Payment #1, 2; Payment                               1,000.00                                     1,000.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           1,000.00
                                                            Payment #1; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           1,000.00
                                                            Payment #2; Payment
                                                            towards promissory note
                                                            obligation
08/31/16                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00              990.00
09/30/16                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00              980.00
10/07/16                   Overflow Machine LLC          Acct #5015741366; Payment #2, 3; Payment                               1,000.00                                     1,980.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           1,980.00
                                                            Payment #2; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           1,980.00
                                                            Payment #3; Payment
                                                            towards promissory note
                                                            obligation
10/31/16                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00             1,970.00
11/16/16                   Overflow Machine LLC          Acct #5015741366; Payment #3, 4; Payment                               1,000.00                                     2,970.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           2,970.00
                                                            Payment #3; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           2,970.00
                                                            Payment #4; Payment
                                                            towards promissory note
                                                            obligation
11/30/16                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00             2,960.00
12/07/16                   Overflow Machine LLC          Acct #5015741366; Payment #4, 5; Payment                               1,000.00                                     3,960.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           3,960.00
                                                            Payment #4; Payment
                                                            towards promissory note

                                                                                                Subtotals :                    $4,000.00                  $40.00
{} Asset reference(s)                                                                                                                    Printed: 03/26/2019 10:27 AM         V.14.50
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                                                  Cash Receipts And Disbursements Record
Case Number:         1:15-11016-DF                                                             Trustee:            Charles A. Pisaturo Jr. (590100)
Case Name:           DICKSEN, WILLIAM B.                                                       Bank Name:          Rabobank, N.A.
                     DICKSEN, DOLORES V.                                                       Account:            ******1366 - Checking Account
Taxpayer ID #:       **-***5490                                                                Blanket Bond:       $15,000,000.00 (per case limit)
Period Ending: 03/26/19                                                                        Separate Bond: N/A

   1             2                          3                                   4                                              5                      6                  7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements             Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $                Account Balance
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           3,960.00
                                                            Payment #5; Payment
                                                            towards promissory note
                                                            obligation
12/30/16                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00             3,950.00
01/30/17                   Overflow Machine LLC          Acct #5015741366; Payment #5, 6; Payment                               1,000.00                                     4,950.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           4,950.00
                                                            Payment #5; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           4,950.00
                                                            Payment #6; Payment
                                                            towards promissory note
                                                            obligation
01/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00             4,940.00
02/28/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00             4,930.00
03/17/17                   Overflow Machine LLC          Acct #5015741366; Payment #6, 7; Payment                               1,000.00                                     5,930.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           5,930.00
                                                            Payment #6; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           5,930.00
                                                            Payment #7; Payment
                                                            towards promissory note
                                                            obligation
03/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                         10.00             5,920.00
04/27/17                   Overflow Machine LLC          Acct #5015741366; Payment #7, 8; Payment                               1,000.00                                     6,920.00
                                                         towards promissory note obligation
               {21}                                         Acct #5015741366;                 689.85      1121-000                                                           6,920.00
                                                            Payment #7; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                           6,920.00
                                                            Payment #8; Payment
                                                            towards promissory note
                                                            obligation

                                                                                                Subtotals :                    $3,000.00                  $40.00
{} Asset reference(s)                                                                                                                    Printed: 03/26/2019 10:27 AM         V.14.50
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                                                         Cash Receipts And Disbursements Record
Case Number:         1:15-11016-DF                                                                  Trustee:            Charles A. Pisaturo Jr. (590100)
Case Name:           DICKSEN, WILLIAM B.                                                            Bank Name:          Rabobank, N.A.
                     DICKSEN, DOLORES V.                                                            Account:            ******1366 - Checking Account
Taxpayer ID #:       **-***5490                                                                     Blanket Bond:       $15,000,000.00 (per case limit)
Period Ending: 03/26/19                                                                             Separate Bond: N/A

   1             2                           3                                       4                                              5                      6                  7

 Trans.     {Ref #} /                                                                                                           Receipts         Disbursements             Checking
  Date      Check #           Paid To / Received From                 Description of Transaction               T-Code              $                   $                Account Balance
04/28/17                   Rabobank, N.A.                     Bank and Technology Services Fee                 2600-000                                         10.00             6,910.00
05/30/17       {21}        Overflow Machine LLC               Acct #5015741366; Payment #8; Payment            1121-000                 500.00                                    7,410.00
                                                              towards promissory note obligation
05/31/17                   Rabobank, N.A.                     Bank and Technology Services Fee                 2600-000                                         10.93             7,399.07
06/05/17       {21}        Overflow Machine LLC               Acct #5015741366; Payment #8; Payment            1121-000                 100.00                                    7,499.07
                                                              towards promissory note obligation
06/07/17                   Overflow Machine LLC               Acct #5015741366; Payment #8, 9; Payment                                  150.00                                    7,649.07
                                                              towards promissory note obligation
               {21}                                              Acct #5015741366;                  89.85      1121-000                                                           7,649.07
                                                                 Payment #8; Payment
                                                                 towards promissory note
                                                                 obligation
               {21}                                              Acct #5015741366;                  60.15      1121-000                                                           7,649.07
                                                                 Payment #9; Payment
                                                                 towards promissory note
                                                                 obligation
06/13/17       {21}        Overflow Machine LLC               Acct #5015741366; Payment #9; Payment            1121-000                 250.00                                    7,899.07
                                                              towards promissory note obligation
06/19/17       {21}        Overflow Machine LLC               Acct #5015741366; Payment #9; Payment            1121-000                 250.00                                    8,149.07
                                                              towards promissory note obligation
06/26/17       {21}        Overflow Machine LLC               Acct #5015741366; Payment #9; Payment            1121-000                 250.00                                    8,399.07
                                                              towards promissory note obligation
06/30/17                   Rabobank, N.A.                     Bank and Technology Services Fee                 2600-000                                         11.26             8,387.81
07/18/17                   Overflow Machine LLC               Acct #5015741366; Payment #10, 9; Payment                                 500.00                                    8,887.81
                                                              towards promissory note obligation
               {21}                                              Acct #5015741366;                 310.15      1121-000                                                           8,887.81
                                                                 Payment #10; Payment
                                                                 towards promissory note
                                                                 obligation
               {21}                                              Acct #5015741366;                 189.85      1121-000                                                           8,887.81
                                                                 Payment #9; Payment
                                                                 towards promissory note
                                                                 obligation
07/26/17       {21}        Overflow Machine LLC               Acct #5015741366; Payment #10; Payment           1121-000                 500.00                                    9,387.81
                                                              towards promissory note obligation
07/31/17       101         International Sureties, LTD        BOND PREMIUM PAYMENT ON BANK                     2300-000                                          4.51             9,383.30
                                                              BALANCE AS OF 07/31/2017 FOR CASE
                                                              #15-11016, Bond #016027599
07/31/17                   Rabobank, N.A.                     Bank and Technology Services Fee                 2600-000                                         11.94             9,371.36

                                                                                                     Subtotals :                    $2,500.00                  $48.64
{} Asset reference(s)                                                                                                                         Printed: 03/26/2019 10:27 AM         V.14.50
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                                                  Cash Receipts And Disbursements Record
Case Number:         1:15-11016-DF                                                             Trustee:            Charles A. Pisaturo Jr. (590100)
Case Name:           DICKSEN, WILLIAM B.                                                       Bank Name:          Rabobank, N.A.
                     DICKSEN, DOLORES V.                                                       Account:            ******1366 - Checking Account
Taxpayer ID #:       **-***5490                                                                Blanket Bond:       $15,000,000.00 (per case limit)
Period Ending: 03/26/19                                                                        Separate Bond: N/A

   1             2                            3                                 4                                              5                      6                   7

 Trans.     {Ref #} /                                                                                                      Receipts         Disbursements              Checking
  Date      Check #           Paid To / Received From            Description of Transaction               T-Code              $                   $                 Account Balance
08/09/17                   Overflow Machine LLC          Acct #5015741366; Payment #10, 11;                                        500.00                                     9,871.36
                                                         Payment towards promissory note obligation
               {21}                                         Acct #5015741366;                 189.85      1121-000                                                            9,871.36
                                                            Payment #10; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                            9,871.36
                                                            Payment #11; Payment
                                                            towards promissory note
                                                            obligation
08/21/17       {21}        Overflow Machine LLC          Acct #5015741366; Payment #11; Payment           1121-000                 500.00                                  10,371.36
                                                         towards promissory note obligation
08/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          15.52          10,355.84
09/12/17                   Overflow Machine LLC          Acct #5015741366; Payment #11, 12;                                        500.00                                  10,855.84
                                                         Payment towards promissory note obligation
               {21}                                         Acct #5015741366;                 189.85      1121-000                                                         10,855.84
                                                            Payment #11; Payment
                                                            towards promissory note
                                                            obligation
               {21}                                         Acct #5015741366;                 310.15      1121-000                                                         10,855.84
                                                            Payment #12; Payment
                                                            towards promissory note
                                                            obligation
09/28/17       {21}        Overflow Machine LLC          Acct #5015741366; Payment #12; Payment           1121-000                 689.85                                  11,545.69
                                                         towards promissory note obligation
09/29/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          14.78          11,530.91
10/26/17       {21}        Overflow Machine LLC          Acct #5015741366; Payment #13; Payment           1121-000              1,000.00                                   12,530.91
                                                         towards promissory note obligation
10/31/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          17.88          12,513.03
11/30/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          17.99          12,495.04
12/04/17       {21}        Overflow Machine LLC          Acct #5015741366; Payment #14; Payment           1121-000              1,000.00                                   13,495.04
                                                         towards promissory note obligation
12/29/17                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          18.47          13,476.57
01/31/18                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          21.32          13,455.25
02/12/18       {21}        Overflow Machine              Acct #5015741366; Payment #15; Payment           1121-000              1,000.00                                   14,455.25
                                                         towards promissory note obligation
02/28/18                   Rabobank, N.A.                Bank and Technology Services Fee                 2600-000                                          18.78          14,436.47
03/26/18       {21}        Overflow Machine LLC          Acct #5015741366; Payment #16; Payment           1121-000              1,000.00                                   15,436.47
                                                         towards promissory note obligation

                                                                                                Subtotals :                    $6,189.85                  $124.74
{} Asset reference(s)                                                                                                                    Printed: 03/26/2019 10:27 AM          V.14.50
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                                                                                     Form 2                                                                                          Page: 5

                                                         Cash Receipts And Disbursements Record
Case Number:         1:15-11016-DF                                                                    Trustee:            Charles A. Pisaturo Jr. (590100)
Case Name:           DICKSEN, WILLIAM B.                                                              Bank Name:          Rabobank, N.A.
                     DICKSEN, DOLORES V.                                                              Account:            ******1366 - Checking Account
Taxpayer ID #:       **-***5490                                                                       Blanket Bond:       $15,000,000.00 (per case limit)
Period Ending: 03/26/19                                                                               Separate Bond: N/A

   1             2                            3                                      4                                                5                      6                   7

 Trans.     {Ref #} /                                                                                                             Receipts         Disbursements              Checking
  Date      Check #           Paid To / Received From                 Description of Transaction                 T-Code              $                   $                 Account Balance
03/30/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          20.90          15,415.57
04/10/18       {21}        Overflow Machine LLC               Acct #5015741366; Payment #16; Payment             1121-000              1,000.00                                   16,415.57
                                                              towards promissory note obligation
04/30/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          22.24          16,393.33
05/21/18       {21}        Overflow Machine                   Acct #5015741366; Payment #18                      1121-000              1,000.00                                   17,393.33
05/31/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          26.36          17,366.97
06/13/18       {21}        Overflow Machine                   Acct #5015741366; Payment #19                      1121-000              1,000.00                                   18,366.97
06/29/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          24.86          18,342.11
07/03/18       {21}        Overflow Machine LLC               Acct #5015741366; Payment #20                      1121-000              1,000.00                                   19,342.11
07/31/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          29.38          19,312.73
08/02/18       102         International Sureties, LTD        BOND PREMIUM PAYMENT ON BANK                       2300-000                                          10.26          19,302.47
                                                              BALANCE AS OF 08/01/2018 FOR CASE
                                                              #15-11016, Bond #016027599
08/20/18       {21}        Overflow Machine                   Acct #5015741366; Payment #21                      1121-000              1,000.00                                   20,302.47
08/31/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          29.17          20,273.30
09/13/18       {21}        Overflow Machine LLC               Acct #5015741366; Payment #22                      1121-000              1,000.00                                   21,273.30
09/28/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          15.93          21,257.37
10/18/18       {21}        Overflow Machine LLC               Acct #5015741366; Payment #23                      1121-000              1,000.00                                   22,257.37
10/31/18                   Rabobank, N.A.                     Bank and Technology Services Fee                   2600-000                                          19.54          22,237.83
11/26/18                   Overflow Machine LLC               Acct #5015741366; Payment #24, 25                                        2,000.00                                   24,237.83
               {21}                                              Acct #5015741366;                 1,000.00      1121-002                                                         24,237.83
                                                                 Payment #24
               {21}                                              Acct #5015741366;                 1,000.00      1121-002                                                         24,237.83
                                                                 Payment #25
12/17/18                   Overflow Machine LLC               Acct #5015741366; Payment #26, 27                                        2,000.00                                   26,237.83
               {21}                                              Acct #5015741366;                 1,000.00      1121-002                                                         26,237.83
                                                                 Payment #26
               {21}                                              Acct #5015741366;                 1,000.00      1121-002                                                         26,237.83
                                                                 Payment #27
12/31/18       {21}        Overflow Machine LLC               Acct #5015741366; Payment #28                      1121-000              1,000.00                                   27,237.83

                                                                                   ACCOUNT TOTALS                                     27,689.85                   452.02        $27,237.83
                                                                                          Less: Bank Transfers                              0.00                    0.00
                                                                                   Subtotal                                           27,689.85                   452.02
                                                                                          Less: Payments to Debtors                                                 0.00
                                                                                   NET Receipts / Disbursements                      $27,689.85                  $452.02




{} Asset reference(s)                                                                                                                           Printed: 03/26/2019 10:27 AM         V.14.50
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                                                                                  Form 2                                                                                         Page: 6

                                                  Cash Receipts And Disbursements Record
Case Number:         1:15-11016-DF                                                                Trustee:            Charles A. Pisaturo Jr. (590100)
Case Name:           DICKSEN, WILLIAM B.                                                          Bank Name:          Rabobank, N.A.
                     DICKSEN, DOLORES V.                                                          Account:            ******1366 - Checking Account
Taxpayer ID #:       **-***5490                                                                   Blanket Bond:       $15,000,000.00 (per case limit)
Period Ending: 03/26/19                                                                           Separate Bond: N/A

   1             2                         3                                       4                                              5                      6                   7

 Trans.     {Ref #} /                                                                                                         Receipts         Disbursements              Checking
  Date      Check #           Paid To / Received From                Description of Transaction              T-Code              $                   $                 Account Balance

                           Net Receipts :                27,689.85
        Less Other Noncompensable Items :                 4,000.00                                                                   Net             Net                      Account
                                                                                 TOTAL - ALL ACCOUNTS                              Receipts     Disbursements                 Balances
                                  Net Estate :          $23,689.85
                                                                                 Checking # ******1366                            27,689.85                   452.02          27,237.83

                                                                                                                                 $27,689.85                  $452.02        $27,237.83




{} Asset reference(s)                                                                                                                       Printed: 03/26/2019 10:27 AM         V.14.50
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                                                         Claims Proposed Distribution
                                            Case: 1:15-11016-DF DICKSEN, WILLIAM B.

  Case Balance:           $27,237.83                  Total Proposed Payment:          $27,237.83                    Remaining Balance:            $0.00

                                                                    Amount             Amount               Paid           Claim          Proposed      Remaining
Claim #   Claimant Name                        Type                  Filed             Allowed             to Date        Balance         Payment         Funds

          Charles A. Pisaturo Jr.          Admin Ch. 7                123.17             123.17               0.00           123.17            123.17      27,114.66
          <2200-00 Trustee Expenses>
          Charles A. Pisaturo Jr.          Admin Ch. 7               2,714.80           2,714.80              0.00         2,714.80         2,714.80       24,399.86
          <2100-00 Trustee Compensation>
          Charles A. Pisaturo, Jr.         Admin Ch. 7               1,707.50           1,707.50              0.00         1,707.50         1,707.50       22,692.36
          <3110-00 Attorney for Trustee Fees (Trustee Firm)>
          Craig Jalbert                    Admin Ch. 7                 63.89              63.89               0.00            63.89             63.89      22,628.47
          <3420-00 Accountant for Trustee Expenses (Other Firm)>
          Craig Jalbert                    Admin Ch. 7               3,227.50           3,227.50              0.00         3,227.50         3,227.50       19,400.97
          <3410-00 Accountant for Trustee Fees (Other Firm)>

  1P-2    Internal Revenue Service         Priority                  7,389.83           7,389.83              0.00         7,389.83         7,389.83       12,011.14
   2P     Massachusetts Dept. of           Priority                  2,616.91           2,616.91              0.00         2,616.91         2,616.91        9,394.23
          Revenue
   3P     Massachusetts Dept. of           Priority                  3,479.64              0.00               0.00             0.00              0.00       9,394.23
          Revenue

  1U-2    Internal Revenue Service         Unsecured                  654.60             654.60               0.00           654.60            654.60       8,739.63
   2U     Massachusetts Dept. of           Unsecured                  588.78             588.78               0.00           588.78            588.78       8,150.85
          Revenue
   3U     Massachusetts Dept. of           Unsecured                  605.98               0.00               0.00             0.00              0.00       8,150.85
          Revenue
  1PI-2   Internal Revenue Service         Unsecured                    0.00               0.00               0.00             0.00             71.57       8,079.28
 1UI-2    Internal Revenue Service         Unsecured                    0.00               0.00               0.00             0.00              6.34       8,072.94
  2PI     Massachusetts Dept. of           Unsecured                    0.00               0.00               0.00             0.00             25.35       8,047.59
          Revenue
  2UI     Massachusetts Dept. of           Unsecured                    0.00               0.00               0.00             0.00              5.70       8,041.89
          Revenue
SURPLUS DICKSEN, WILLIAM B.                Unsecured                 8,041.89           8,041.89              0.00         8,041.89         8,041.89            0.00


                      Total for Case 15-11016 :                    $31,214.49         $27,128.87             $0.00       $27,128.87       $27,237.83




                                                                           CASE SUMMARY
                                                        Amount            Amount               Paid             Proposed              % paid
                                                         Filed            Allowed             to Date           Payment

          Total Administrative Claims :                $7,836.86          $7,836.86                $0.00         $7,836.86       100.000000%

                 Total Priority Claims :              $13,486.38         $10,006.74                $0.00        $10,006.74       100.000000%

             Total Unsecured Claims :                  $9,891.25          $9,285.27                $0.00         $9,394.23       101.173472%
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                                   TRUSTEE'S PROPOSED DISTRIBUTION                                      Exhibit D

             Case No.: 1:15-11016-DF
             Case Name: DICKSEN, WILLIAM B.
             Trustee Name: Charles A. Pisaturo Jr.
                                                 Balance on hand:                         $          27,237.83
              Claims of secured creditors will be paid as follows:

 Claim        Claimant                               Claim Allowed Amount Interim Payments              Proposed
 No.                                               Asserted       of Claim          to Date             Payment
                                                        None
                                                 Total to be paid to secured creditors:   $               0.00
                                                 Remaining balance:                       $          27,237.83

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments      Proposed
                                                                                         to Date     Payment
Trustee, Fees - Charles A. Pisaturo Jr.                               2,714.80                0.00       2,714.80
Trustee, Expenses - Charles A. Pisaturo Jr.                             123.17                0.00           123.17
Attorney for Trustee, Fees - Charles A. Pisaturo, Jr.                 1,707.50                0.00       1,707.50
Accountant for Trustee, Fees - Craig Jalbert                          3,227.50                0.00       3,227.50
Accountant for Trustee, Expenses - Craig Jalbert                          63.89               0.00            63.89
                            Total to be paid for chapter 7 administration expenses:       $           7,836.86
                            Remaining balance:                                            $          19,400.97

               Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                              Total Requested Interim Payments      Proposed
                                                                                         to Date     Payment
                                                        None
                            Total to be paid for prior chapter administrative expenses:   $               0.00
                            Remaining balance:                                            $          19,400.97




   UST Form 101-7-TFR (05/1/2011)
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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $10,006.74 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1P-2         Internal Revenue Service                                7,389.83                 0.00       7,389.83
  2P           Massachusetts Dept. of Revenue                          2,616.91                 0.00       2,616.91
  3P           Massachusetts Dept. of Revenue                              0.00                 0.00              0.00
                                                 Total to be paid for priority claims:      $          10,006.74
                                                 Remaining balance:                         $           9,394.23
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 1,243.38 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 100.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1U-2         Internal Revenue Service                                  654.60                 0.00         654.60
  2U           Massachusetts Dept. of Revenue                            588.78                 0.00         588.78
                             Total to be paid for timely general unsecured claims:          $            1,243.38
                             Remaining balance:                                             $            8,150.85


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  3U           Massachusetts Dept. of Revenue                              0.00                 0.00              0.00
                             Total to be paid for tardy general unsecured claims:           $                0.00
                             Remaining balance:                                             $            8,150.85


  UST Form 101-7-TFR (05/1/2011)
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             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
                                                       None
                                                 Total to be paid for subordinated claims: $                 0.00
                                                 Remaining balance:                        $             8,150.85

              To the extent funds remain after payment in full of all allowed claims, interest will be
        paid at the legal rate of 0.2% pursuant to 11 U.S.C. § 726(a)(5). Funds available for interest
        are $108.96. The amounts proposed for payment to each claimant, listed above, shall be
        increased to include the applicable interest.
              The amount of surplus returned to the debtor after payment of all claims and interest is
        $ 8,041.89.




  UST Form 101-7-TFR (05/1/2011)
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                                                                  Surplus to Debtor & Interest on Claims
                                                                       Trustee: Charles A. Pisaturo Jr. (590100)
Case: 15-11016 DICKSEN, WILLIAM B.                                                                           Petition Date: 05/14/15   Date of Proposed Payment: 05/26/19
                                                                                   Amount       Paid          Claim      Proposed       Proposed      Total      Maximum
 Claim #      Claimant Name                                      T_Code            Allowed     to Date       Balance     Payment         Interest   Proposed      Interest

            Charles A. Pisaturo Jr.                             2200-00             123.17       0.00        123.17        123.17                      123.17
            Charles A. Pisaturo Jr.                             2100-00    Ignore 3,118.99       0.00       3,118.99     2,714.80                     2,714.80
            Craig Jalbert                                       3410-00           3,227.50       0.00       3,227.50     3,227.50                     3,227.50
            Craig Jalbert                                       3410-00              63.89       0.00         63.89         63.89                       63.89
            Charles A. Pisaturo, Jr.                            3110-00           1,707.50       0.00       1,707.50     1,707.50                     1,707.50
  1P-2      Internal Revenue Service                            5800-00           7,389.83       0.00       7,389.83     7,389.83         71.57       7,461.40        71.57
  1U-2      Internal Revenue Service                            7100-00             654.60       0.00        654.60        654.60          6.34        660.94          6.34
   2P       Massachusetts Dept. of Revenue                      5800-00           2,616.91       0.00       2,616.91     2,616.91         25.35       2,642.26        25.35
   2U       Massachusetts Dept. of Revenue                      7100-00             588.78       0.00        588.78        588.78          5.70        594.48          5.70
   3P       Massachusetts Dept. of Revenue                      5800-00               0.00       0.00           0.00
   3U       Massachusetts Dept. of Revenue                      7200-00               0.00       0.00           0.00

                                 Subtotal for Claims :                          $19,491.17      $0.00     $19,491.17   $19,086.98       $108.96     $19,195.94      $108.96

Disbursements not Tied to Claims (Group by Categories except Trustee Compensation)
            <Excess Funds (Surplus+Equity) Not Tied to Claim>   8200                             0.00                    8,041.89                     8,041.89
            <All Other Disbursements Not Tied to Claim>                                        452.02

                                 Subtotal for Non-Claims :                                    $452.02                   $8,041.89                    $8,041.89        $0.00



        Case Total :                                                            $19,491.17    $452.02     $19,491.17   $27,128.87       $108.96     $27,237.83      $108.96
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                                                                 Surplus to Debtor & Interest on Claims
                                                                  Trustee: Charles A. Pisaturo Jr. (590100)
Case: 15-11016 DICKSEN, WILLIAM B.                                                                         Petition Date: 05/14/15        Date of Proposed Payment: 05/26/19
    Disbursement Summary                                                                                 Compensation Calculation
                                                          PAID                DUE                TOTAL
                                                                                                         Total Compensable Disbursements                                $19,647.96
   2100     Trustee Compensation                        $0.00            $2,714.80           $2,714.80   Less Trustee Compensation                                  (   $2,714.80)
   7990     Interest                                    $0.00             $108.96             $108.96
                                                                                                         Total Compensable Disbursements except                         $16,933.16
   8100     Exemptions                                  $0.00               $0.00               $0.00    Trustee Compensation (X)
   8200     Excess Funds (Surplus+Equity)               $0.00            $8,041.89           $8,041.89
                                                                                                         Calculated Compensation (Y)                                     $2,714.80
   8500     Funds Paid to 3rd Party                     $0.00               $0.00               $0.00
                                                                                                                                (X - $5,000.00) x 10% + $1,250.00
            All Other Disbursements                   $452.02           $16,372.18          $16,824.20   Y=
                                                                                                                                               0.90
            Total :                                   $452.02           $27,237.83          $27,689.85


    Surplus to Debtor Calculation                                                                        Compensation Proof
   Gross Receipts                                          $27,689.85                                    Total Projected Gross Receipts                                 $27,689.85
   Plus Additional Funds to be Received                         $0.00
                                                                                                         Less Non-Compensable Disbursements:
   Total Projected Gross Receipts                          $27,689.85                     $27,689.85
                                                                                                             Less Exemptions                                                 $0.00
                                                                                                             Less Funds Paid to 3rd Parties                                  $0.00
   Less Compensable Disbursements:                                                                           Excess Funds                                           (   $8,041.89)
       Interest Disbursements @ 0.2400%                       $108.96
       Trustee Compensation                                 $2,714.80                                    Projected Net Estate                                           $19,647.96
       Other Compensable Disbursements                     $16,824.20                                    25% of first $5,000.00                                           1,250.00
       Total Compensable Disbursements                     $19,647.96                 (   $19,647.96)    10% of next $14,647.96                                           1,464.80
   Less Exemptions                                                                             $0.00     5% of next $0.00                                                     0.00
   Less Funds Paid to 3rd Parties                                                              $0.00     3% of remainder $0.00                                                0.00
   Excess Funds (Surplus to Debtor + Equity Security Holder)                               $8,041.89
                                                                                                         Total Compensation                                              $2,714.80
    Selected Report Options
    Ignore Existing Trustee Compensation Claims and Recalculate
         Create/Update Trustee Compensation Claim and Update Compensation Worksheet
    Ignore Existing Interest Claims and Recalculate
         Create/Update Interest Claims
         Exclude Admin. Claims from Interest Calculation
    Create/Update Surplus to Debtor Claims
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Printed: 03/26/19 10:33 AM             Trustee's Compensation
Debtor: DICKSEN, WILLIAM B.                                                      Case: 15-11016
 Computation of Compensation
    Total disbursements to other than the debtor are:                                                   19,647.96
    Pursuant to 11 U.S.C. 326, compensation is computed as follows:
        25% of First $5,000                                          5,000.00        =                   1,250.00
        10% of Next $45,000                                         14,647.96        =                   1,464.80
          5% of Next $950,000                                            0.00        =                       0.00
          3% of Balance                                                  0.00        =                       0.00

                                                    Calculated Total Compensation:                      $2,714.80
                                                                    Plus Adjustment:                         0.00
                                                                 Total Compensation:                    $2,714.80
                                                                  Less Previously Paid:                      0.00
                                                    Total Compensation Requested:                       $2,714.80
 Trustee Expenses
    Premium on Trustee's Bond                                                                                0.00
    Travel                            0.0 miles at 0.0 cents per mile                                        0.00
    Copies                            268 copies at 20.0 cents per copy                                     53.60
    Postage                                                                                                 69.57
    Telephone Charges                                                                                        0.00
    Clerical / Secretarial            0.00 hours at 0.00 dollars per hour                                    0.00
    Paralegal Assistance              0.00 hours at 0.00 dollars per hour                                    0.00
    Supplies / Stationery                                                                                    0.00
    Distribution Expenses                                                                                    0.00
    Professional Expenses                                                                                    0.00
    Other Expenses                                                                                           0.00
    Other Expenses 2                                                                                         0.00
                                                                  Subtotal Expenses:                      $123.17
                                                                     Plus Adjustment:                        0.00
                                                                     Total Expenses:                      $123.17
                                                                  Less Previously Paid:                      0.00
                                                          Total Expenses Requested:                       $123.17

    The undersigned Trustee certifies under penalty of perjury that the foregoing is true and correct to the best of
his/her knowledge and requests the United States Trustee to approve this report and accounts and requests the
Court to provide for notice and opportunity for a hearing under 11 U.S.C. 330(a), 502(b), and 503(b) and to
thereafter award final compensation or reimbursement of expenses and to make final allowance for the purposes
of distribution to claims, administrative expenses, and other payments stated in this report and account.

    WHEREFORE, the Trustee requests that this application be approved by this Court and that the Trustee be
granted an allowance of $2,714.80 as compensation and $123.17 for reimbursement of expenses. The Trustee
further states that no payments have been made or promised to him/her for services rendered or to be rendered
in any capacity in this case. No agreement or understanding exists between applicant and any other person for
sharing compensation received or to be received.

Dated: 03/26/19                                            /s/ Charles A. Pisaturo Jr.
                                                   Signed:_________________________________________
                                                    Charles A. Pisaturo Jr.
                                                    1055 Elmwood Avenue

                                                    Providence, RI 02907
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                            UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF RHODE ISLAND

IN RE:          WILLIAM B. DICKSEN                              Chapter 7
                DOLORES V. DICKSEN                              BK No. 15-11016

                        Debtors

                              FINAL APPLICATION FOR
                         COMPENSATION OF TRUSTEE’S COUNSEL

         Charles A. Pisaturo, Jr., Esq., (hereinafter, either “Pisaturo” or “trustee’s counsel”) in his

capacity as trustee’s counsel, pursuant to Bankruptcy Code §330, Bankruptcy Rule of Procedure

2016, and Local Bankruptcy Rule 2016-1, hereby applies to this Court for final compensation in

the amount of $1,707.50 for the time frame of June 11, 2015 through March 25, 2019. This

is a first and final application for trustee’s counsel. In support hereof, Pisaturo states as follows:

         1.     The debtors filed their chapter 7 bankruptcy petition on May 14, 2015. Pisaturo is

the duly appointed trustee.

         2.     On June 11, 2015, the trustee filed an application (docket #12) to employ Pisaturo

as trustee’s counsel under 11 U.S.C. §327(a) and on June 30, 2015, this Court entered an order

approving the application (docket #15). Pisaturo commenced rendering services within thirty

(30) days before the filing of the employment application.

                                              Background

         3.     At the time of the filing, debtor William Dicksen owned a $45,000 promissory

note “receivable” or debt due him in connection with his pre-petition sale of his interest in a

business to his former partner, Ronald Bower (see, Bankruptcy Schedule B, item #35).

         4.     Trustee’s counsel represented the trustee as collection counsel in the

collection of the unpaid promissory note and ultimately negotiated a settlement of the debt

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which this Court approved through a compromise motion.

                                         Counsel’s Services

       5.      Trustee’s counsel’s services included general due diligence, including

investigating the Massachusetts Secretary of State’s Uniform Commercial Code records (the note

was purportedly secured by all of the tangible assets of Mr. Bower’s business entity, “Overflow

Machines, Inc.”), communicating with Mr. Bower’s counsel, preparation of a complaint for

turnover as Mr. Bower became delinquent in his obligations, dunning letters, and negotiations for

a buy-out. In accordance with R.I. LBR 2016-1(a)(6), counsel states that he expended 5.2 hours

of time at a blended hourly rate of $328.06 per hour in performing legal services for the estate

for a total of $1,707.50 in legal time hours.

       6.      In accordance with R.I. LBR 2016-1(a)(6), trustee’s counsel’s services included

the following (which services are more specifically described in the attached time records):

       -       Review original note and UCC financing statements and UCC filings;

       -       Notice letter to promissory note obligor;

       -       Demand letter to promissory note obligor;

       -       Prepare and serve notice of complaint against promissory note obligor (ultimately,

it was unnecessary for the trustee to file the complaint);

       -       Track note payments and send demand letters as needed;

       -       Negotiate discounted payoff agreement with obligor;

       -       Prepare motion to approve compromise and detailed memorandum in support.

       7.      Trustee’s counsel has heretofore submitted a biography and has dispensed with

doing so here but will file another biography if the Court requires. R.I. LBR 2016-1(a)(8).


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       8.       Trustee’s counsel did not receive a retainer or any interim distribution and would

respectfully submit that his efforts benefitted the estate, as described above, were necessary, and

that the fee request is reasonable. This is a final application, and this will be the final payment of

attorney’s fees for trustee’s counsel.

        9.     There is $27,237.83 on hand in this estate and the estate is administratively

solvent. The trustee projects 100% dividend on allowed filed claims and a surplus to the debtor.

        10.    Trustee’s counsel certifies that he is not seeking compensation for services which

are properly “trustee” services. R.I. LBR 2016-1(a)(7).

        WHEREFORE, trustee’s counsel requests that this Court approve his requested

compensation in the amount of $1,707.50 and for such other and further relief as is just.

                                               Charles A. Pisaturo, Jr., Chapter 7 Trustee,
                                               By His Attorneys,


March 26, 2019                                 /s/Charles A. Pisaturo, Jr.
                                               CHARLES A. PISATURO, JR. (REG. NO. 4615)
                                               Law Offices of Charles A. Pisaturo, Jr.
                                               1055 Elmwood Avenue
                                               Providence, RI 02907
                                               TEL: (401) 274-3800
                                               FAX: (401) 751-6786

                                              NOTICE

Within twenty one (21) days after service, if served electronically, as evidenced by the
certification, and an additional three (3) days pursuant to Fed. R. Bank. P. 9006(f) if served by
mail or other excepted means specified, any party against whom such paper has been served, or
any other party who objects to the relief sought, shall serve and file an objection or other
appropriate response to said paper with the Bankruptcy Court Clerk's Office, 380 Westminster
Street, 6th Floor, Providence, RI 02903, (401) 626-3100. If no objection or other response is
timely filed, the paper will be deemed unopposed and will be granted unless: (1) the requested
relief is forbidden by law; (2) the requested relief is against public policy; or (3) in the opinion of
the Court, the interest of justice requires otherwise.


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                                                     4 of 4
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of March, 2019, I served via electronic filing (ECF)
or regular US Mail, a true copy of the within FINAL APPLICATION FOR COMPENSATION
OF TRUSTEE’S COUNSEL to the following parties: Gary L. Donahue, Esq., Assistant U.S.
Trustee, Stephen M. Hunter, Esq.:

Craig R. Jalbert
Verdolino & Lowey, P.C.
124 Washington Street
Foxborough, MA 02035

State of Rhode Island - Division of Taxation
Bankruptcy Unit
Collections
One Capitol Hill
Providence, RI 02908

                                               /s/ Jennifer Peters
                                               Jennifer Peters
                                               Law Offices of Charles A. Pisaturo, Jr.
                                               1055 Elmwood Avenue
                                               Providence, RI 02907




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                                Case
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 Printed: 03/26/19 09:44 AM                                                                                                                                           Page: 1
                                                                           Time Sheet Report
                                                                Trustee: Charles A. Pisaturo Jr. (590100)
                                                                      Period: 01/01/00 - 03/26/19

  Case No:    15-11016                        Case Name: DICKSEN, WILLIAM B.                                                             Petition Date: 05/14/15
  Case Type: Assets                           Judge:        Diane Finkle                                                                 341a Meeting: 06/09/15    02:00PM

Category              Staff Name               Date       Description                                                                       Hours       Rate            Total
ATTORNEY              CHARLES A. PISATURO, 01/16/16 Review email chain and send email re request for lump sum offer to buy out                0.30   300.000             90.00
                      JR.                           estate.
                                               05/05/16 Letter to attorney Pelletier RE security interest and buyout                          0.30   325.000             97.50
                                               06/16/16 Begin Prep of complaint against former partner.                                       0.50   325.000           162.50
                                               07/10/16 Prepare demand letter to Mr. Bower.                                                   1.00   325.000           325.00
                                               08/09/16 Work on complaint against Mr. Bower.                                                  1.00   325.000           325.00
                                               08/09/16 letter and tel call to atty Pelletier re UCC                                          0.25   325.000             81.25
                                               09/20/16 Letter to Ron Bower RE making payments on obligation                                  0.15   325.000             48.75
                                               02/21/17 Demand letter to Mr. Bower RE missed payments on mnthly obligation                    0.15   325.000             48.75
                                               03/07/17 Letter to Ron Bower RE need to catch up on payments, and consequences of              0.10   325.000             32.50
                                                        not doing so
                                               03/16/17 Telephone conversation with Ron Bower, obligor on promissory note, regarding          0.20   325.000             65.00
                                                        issues wiht making payments, and options for lump sum payment; notes to file
                                               07/12/17 Check file; review payment history on account and prepare letter to Ron Bower,        0.25   325.000             81.25
                                                        promissory note payor
                                               11/12/18 Prpeare compromise motion                                                             1.00   350.000           350.00
                                                                                                                                              5.20                   $1,707.50

                      Subtotal for Category: ATTORNEY                                                                                         5.20                   $1,707.50

Total for Case: 15-11016                                                                                                                      5.20                   $1,707.50

Total for Trustee: Charles A. Pisaturo Jr.                                                                                                    5.20                   $1,707.50



                                                                                                                  Grand Total:                5.20                   $1,707.50
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                                                    FEE APPLICATION SUMMARY SHEET                           R.I. Local Form 2016-1.1
                                                                                                            (Rev. 3/3/2003)

- - - - - - - - - - - - - - - - - - - - - -x            Fees Previously Requested: $ 0               NAME OF APPLICANT:
                                            :           Fees Previously Awarded: $ 0                 Charles A. Pisaturo, Jr.
In re:
William B. Dicksen                          :   BK No. 15-11016
Dolores V. Dicksen                                 Chapter 7
                                            :                                                        ROLE IN THE CASE:
Debtor                                                  Expenses Previously Requested:       $0
                                            :           Expenses Previously Awarded:         $0      Trustee's Counsel
- - - - - - - - - - - - - - - - - - - - - -x                                                         CURRENT APPLICATION:
                                                                                                     Fees Requested: $ 1,707.50
                                                        Retainer Paid:$ 0                            Expenses Requested:$ 0
                                                                                                     Blended Hourly Rate:$ 328.36
                                                                                                     (Excluding Paraprofessionals)
FEE APPLICATION

NAMES OF PROFESSIONALS/                         YEAR ADMITTED          HOURS BILLED          RATE          TOTAL FOR APPLICATION
PARAPROFESSIONALS                               TO PRACTICE            Current Application

PARTNERS Charles A. Pisaturo, Jr.                   1991                5.2                  $300 - $350     $1,707.50

ASSOCIATES

PARAPROFESSIONALS
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                                                    R.I. Local Form 2016-1.3
                                                    (Eff. 3/3/2003)


                       FINAL FEE ALLOWANCE SUMMARY

     -----------------------x
     In re:                     :
      William & Dolores Dicksen
     Debtor                     :                   BK No. 15-11016
                                                       Chapter 7
                                       :
     -----------------------x

     FEES:
              1. Period of Services in this Case:   6/11/15      to 5/25/19
              2. Total Hours of Services Performed in this Case: 5.2
              3. Blended Hourly Rate for Fees Requested:                $       328.36
                 (Excluding paraprofessionals)
              4. Total Fee Award Requested:                             $       1,705.50
              5. Retainer Credited Against Award:                       $       0
              6. Interim Fees Allowed and Credited Against Award:       $       0
              7. Final Payment Requested:                               $       1,707.50
              8. Approximate Distribution to Creditors in this Case:
                        (a) Administrative:                               100       %
                        (b) Secured:                                   N/A          %
                        (c) Unsecured:                                 100          %


     EXPENSES:
           1. Total Expense Reimbursements Requested:         $
           2. Expenses Allowed to Date:                       $
           3. Expense Request for Final Period:               $
           4. Breakdown of Item No. 3 Total:
                     a. Travel Expense:                       $
                     b. Postage:                              $
                     c. Photocopies:                          $
                     d. Express Mail/Messenger:               $
                     e. Overtime Charges:                     $
                     f. Other Expenses (Itemize):
                                                  $
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Case 1:15-bk-11016   Doc 53
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Case 1:15-bk-11016   Doc 53
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                                                    FEE APPLICATION SUMMARY SHEET                           R.I. Local Form 2016-1.1
                                                                                                            (Rev. 3/3/2003)

- - - - - - - - - - - - - - - - - - - - - -x            Fees Previously Requested: $ 0                 NAME OF APPLICANT:
                                            :           Fees Previously Awarded: $ 0                   Verdolino & Lowey, P.C.
In re:
William B. Dicksen                          :   BK No. 15-11016
Dolores V. Dicksen                                 Chapter 7
                                            :                                                          ROLE IN THE CASE:
Debtor                                                  Expenses Previously Requested:       $0        Accountant
                                            :           Expenses Previously Awarded:         $0
- - - - - - - - - - - - - - - - - - - - - -x                                                           CURRENT APPLICATION:
                                                                                                       Fees Requested: $ 3,227.50
                                                        Retainer Paid:$ 0                              Expenses Requested:$ 63.89
                                                                                                       Blended Hourly Rate:$301.64
                                                                                                       (Excluding Paraprofessionals)
FEE APPLICATION

NAMES OF PROFESSIONALS/                         YEAR ADMITTED          HOURS BILLED           RATE       TOTAL FOR APPLICATION
PARAPROFESSIONALS                               TO PRACTICE            Current Application

PARTNERS Craig Jalbert                                                 0.5                   $475.00       $237.50

ASSOCIATESHeather Medeiros                                            1.1                    $325.00       $357.50
          Beth Brodeur                                                0.5                    $325.00       $162.50
          Paula DiPietro                                              4.8                    $285.00       $1,368.00
                                                                      3.8                    $290.00       $1,102.00
PARAPROFESSIONALS
Case
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                                                     (Eff. 3/3/2003)


                       FINAL FEE ALLOWANCE SUMMARY

     -----------------------x
     In re:                    :
     William & Dolores Dicksen
     Debtor                    :                     BK No. 15-11016
                                                        Chapter 7
                                       :
     -----------------------x

     FEES:
              1. Period of Services in this Case:   8/17/18      to 2/19/19
              2. Total Hours of Services Performed in this Case: 10.7
              3. Blended Hourly Rate for Fees Requested:                 $ 301.64
                 (Excluding paraprofessionals)
              4. Total Fee Award Requested:                              $3,227.50
              5. Retainer Credited Against Award:                        $0
              6. Interim Fees Allowed and Credited Against Award:        $0
              7. Final Payment Requested:                                $ 3,227.50
              8. Approximate Distribution to Creditors in this Case:
                        (a) Administrative:                            100          %
                        (b) Secured:                                   N/A          %
                        (c) Unsecured:                                 100          %


     EXPENSES:
           1. Total Expense Reimbursements Requested:          $ 63.89
           2. Expenses Allowed to Date:                        $0
           3. Expense Request for Final Period:                $ 63.89
           4. Breakdown of Item No. 3 Total:
                     a. Travel Expense:                        $0
                     b. Postage:                               $ 30.29
                     c. Photocopies:                           $ 33.60
                     d. Express Mail/Messenger:                $0
                     e. Overtime Charges:                      $0
                     f. Other Expenses (Itemize):
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                           UNITED STATS BANKRUPTCY COURT
                           FOR THE DISTRICT OF RHODE ISLAND

IN RE:         WILLIAM B. DICKSEN                             Chapter 7
               DOLORES V. DICKSEN                             BK No. 15-11016

                       Debtors

                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of February, 2019, I served via electronic filing
(ECF) or regular US Mail, a true copy of the Application for Fees and Expenses of the
Accountants to the Trustee to the following parties: Gary L. Donahue, Esq., Assistant U.S.
Trustee, T. Michael Banks, Esq., Eva M. Massimino, Esq.:

Craig Jalbert
Verdolino & Lowey
124 Washington Street
Foxborough, MA 02035

State of RI - Division of Taxation
RI Division of Taxation
Bankruptcy Unit
One Capitol Hill
Providence, RI 02908-5800

                                              /s/Charles A. Pisaturo, Jr.
                                              CHARLES A. PISATURO, JR. (REG. NO. 4615)
                                              Trustee
                                              Law Offices of Charles A. Pisaturo, Jr.
                                              1055 Elmwood Avenue
                                              Providence, RI 02907
                                              TEL: (401) 274-3800
                                              FAX: (401) 751-6786
